Case 1:08-cr-00119-JTN         ECF No. 144, PageID.615           Filed 09/22/08      Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                   Case No: 1:08-cr-119-03

v                                                           HON. JANET T. NEFF

RAJINDER SINGH,

               Defendant.
                                         /


               ORDER ADOPTING REPORT AND RECOMMENDATION

       The Court has reviewed the Report and Recommendation filed by the United States

Magistrate Judge in this action. The Report and Recommendation was duly served on the parties,

and no objection has been made thereto within the time required by law.

       THEREFORE, IT IS ORDERED that:

       1. The Report and Recommendation of the Magistrate Judge (Dkt 98) is approved and

adopted as the opinion of the Court.

       2. Defendant's plea of guilty is accepted and defendant is adjudicated guilty of the charges

set forth in Count One of the Superseding Information.



Dated: September 22, 2008                     /s/Janet T. Neff
                                             JANET T. NEFF
                                             UNITED STATES DISTRICT JUDGE
